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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
                                     )
                  Plaintiff,         )
                                     )
v.                                   )
                                     ) Case Nos. 1:23-cr-61 (MN)
                                     )           1:23-mj-274 (MN)
ROBERT HUNTER BIDEN                  )
                                     )
                                     )
                  Defendant.         )
____________________________________)


         MOTION OF THE HERITAGE FOUNDATION AND MIKE HOWELL
                       FOR LEAVE TO INTERVENE

       Movants The Heritage Foundation (“Heritage”) and Mike Howell (“Howell”) hereby

move for leave to intervene in this matter for the limited purposes of opposing Defendant’s

Motion for Leave to File Under Seal (No. 23-mj-274, ECF No. 17) and any subsequent related

filings. In support of their Motion, Heritage and Howell state as follows:

   1. Movants, the Heritage Foundation via the Daily Signal, and Howell, as an
      Investigative Columnist for The Daily Signal, are News Outlets and Thus Permitted
      to Intervene in This Action for the Limited Purpose of Obtaining Public Access to
      Records.

       The Heritage Foundation is a Washington, D.C.-based nonpartisan public-policy

organization with a national and international reputation whose mission is to “formulate and

promote public policies based on the principles of free enterprise, limited government, individual

freedom, traditional American values, and a strong national defense.” Heritage Foundation,

About Heritage, found at https://www.heritage.org/about-heritage/mission (last visited July 31,

2023). Heritage is a not-for-profit IRC Section 501(c)(3) organization which engages in

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substantial dissemination of information to the public. Heritage operates a national news outlet,

The Daily Signal. Mike Howell leads the Heritage Foundation’s Oversight Project and is an

investigative columnist for The Daily Signal. By function, the Oversight Project is primarily

engaged in disseminating information to the public. Oversight Project, found at

https://www.heritage.org/oversight (last visited July 31, 2023); Twitter, found at @OversightPR

(last visited July 31, 2023). Staff members of the Oversight Project regularly appear in

television, radio, print, and other forms of media to provide expert commentary on salient issues

in the national debate. Movants have a strong interest in informing the public and Congress on

the workings of government. Movants work to provide the transparency necessary to restore the

public’s trust in the equal administration of justice in the United States.

       Limited intervention is the appropriate procedural method in the Third Circuit for media

seeking access to judicial records. See, e.g., Pansy v. Borough of Stroundsburg, 23 F.3d 772,

778 (3d Cir. 1994); United States v. Cianfrani, 573 F.2d. 835, 845–46 (3d Cir. 1978). Media

“have standing to challenge protective orders in an effort to obtain access to information or

judicial proceedings. [Media] may have standing notwithstanding the fact that ‘they assert rights

that may belong to a broad portion of the public at large.” Pansy, 23 F.3d at 777 (citations

omitted).

   2. Movants Seek Leave to Intervene to Oppose Sealing of Court Records.

       Movants seek leave to intervene to oppose any sealing of records in either 23-mj-274

(MN) or 23-cr-61 (MN). Counsel for Defendant filed a Motion for Leave to File Under Seal

(No. 23-mj-274, ECF No. 17) on July 26, 2023. On the afternoon of July 28, 2023, Counsel for

Defendant contacted the undersigned requesting consent that certain portions of Movants’

proposed Amicus Brief be sealed pending resolution of the Motion for Leave to File Under Seal.



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See Murray Decl. Ex. 1. Counsel for Defendant requested a response by 5:00 p.m. on July 28,

2023. Id. Counsel for Defendant further advised that should Movants not consent, Counsel

intended to move for relief. Movants did not consent and explained at length moving to seal

would be “absurd and frivolous.” 1 Id. at 2. Later that day, Counsel for Amici noted that the ECF

system was down and requested to be copied on any filings made via email to the Clerk over the

weekend. Id. On Monday at 10:59 a.m., Counsel for Defendant indicated that: “We disagree

with the baseless assertions below, many of which are counterfactual and/or lacking a basis in

law. Id. Nevertheless, as this identical issue is currently before the Court, we will await the

Court’s ruling on the pending application and pursue further relief accordingly.” Murray Decl.

Ex. 2, at 1. Thus, Defendant’s Counsel seek to de facto bind Movants to a ruling on a motion in

which Movants did not litigate. Moreover, Defendant seeks broader putative relief as to

Movants’ Amicus filing in that he seeks to seal a Congressional Quarterly Transcript of House

Oversight and Accountability July 19, 2023 public hearing with the Internal Revenue Service

Whistleblowers, the video of which is publicly available on the House’s website. It makes no

sense to litigate these motions in a piecemeal manner as a matter of judicial economy. Such a

procedure is also deeply unfair. Movants’ file herewith their Proposed Brief in Opposition as

Exhibit 1.

       Counsel for Movants contacted all counsel of record by email this morning seeking their

position on this Motion. More than nine hours later no one has taken a position on this filing.




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  Even though Counsel for Defendant gave Movants some 2.75 hours to respond, Movants met
the deadline of 5:00 p.m. with a detailed response as to why they would not consent to sealing
and the basis for their opposition to any motion to seal that may be filed.
                                                 3
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           WHEREFORE, Movants respectfully request leave to intervene to move for access to the

plea agreement and diversion agreement entered into by the United States and Defendant and to

oppose Counsel for Defendant’s Motion for Leave to File Under Seal and any subsequent related

filings.



Dated: August 1, 2023                                Respectfully submitted,

                                                     LAW OFFICES OF
                                                     MURRAY, PHILLIPS & GAY

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                                                     and Mike Howell




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